Case 1:05-cv-01037-.]DT-STA Document6 Filed 04/21/05 Page 10f3 Page||}?l@

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JANicE A. HAMILTON, ) %Ogi:§;/C_»
) /
Plaintif`f`, )
)
VS. ) NO. 05-1037-T
)
COMMISSIONER OF )
soCIAL sECURITY, )
)
Def`endant. )

ORDER REGARDING BRIEFING SCHEDULE
This is an action for review of a decision of the Commissioner of Social Security
denying Plaintiff‘s application for benefits under the Social Security Act.
The following briefing Schedule is hereby established in this matter:

Plaintiff"s brief in support of this appeal must be filed within 30 days of the
date of this order.

Defendant's brief in opposition to this appeal must be filed within 30 days after
service of Plaintif`f‘s brief.

lf Plaintiff Wishes to file a reply brief, such brief must be filed within 10 days after
service of Defendant's brief.

Failure of either party to comply With this order Will result in appropriate sanctions,
Which may include consideration of the case without regard to that party's brief, or dismissal

of the action.

Thls document entered on the docket sheet ln compliance
with Rule 58 and,'or_79 (a) FRCP on (22 ‘o?/ _Q§` Q

Case 1:05-cv-01037-.]DT-STA Document 6 Filed 04/21/05 Page 2 of 3 Page|D 2

Oral argument will be heard in this matter only if` requested by the parties and deemed

necessary by the court.

IT IS SO ORDERED.

JA S D. TODD
UN ED STATES DISTR_ICT JUDGE

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UNITSTED`ATSE DISTRICT C URT wEsTENR D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 6 in
case 1:05-CV-01037 was distributed by f`aX, mail, or direct printing on
April 21, 2005 to the parties listed.

 

 

.loe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Roger Stanfield

LAW OFFICE OF ROGER STANFIELD
P.O. Box 3338

Jacl<son7 TN 38303--333

Honorable .l ames Todd
US DISTRICT COURT

